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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
UNITED STATES OF AMERICA            :
                                    :                         PROTECTIVE ORDER
      - v. -                        :
                                    :                         S1 19 Cr. 725 (JPO)
LEV PARNAS,                         :
IGOR FRUMAN, and                    :
ANDREY KUKUSHKIN,                   :
                                    :
                 Defendants.        :
                                    :
------------------------------------x

J. PAUL OETKEN, District Judge:

               WHEREAS, LEV PARNAS, IGOR FRUMAN, and ANDREY KUKUSHKIN, the

defendants, have made a request for certain records and papers used in connection with the

constitution of the Master and Qualified Jury Wheels in the United States District Court for the

Southern District of New York (the “Jury Records”), pursuant to the Fifth and Sixth Amendments

to the United States Constitution and the Jury Selection and Service Act, 28 U.S.C. §§ 1867(a) and

(f);

               WHEREAS, the Jury Administrator of the Southern District of New York (the

“Jury Administrator”) has indicated that certain Jury Records reveal personal identifying

information that would be burdensome to redact (“Sensitive Information”);

               WHEREAS, in the interest of expediting the process by which the defendants

receive the Jury Records, the defendants, by their attorneys (“Defense Counsel”), consent to the

entry of this Order;

               WHEREAS, pursuant to 28 U.S.C. § 1867(f) and subject to the additional

limitations set forth below, the Jury Records provided to the parties shall not be disclosed to third
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parties except “as may be necessary in the preparation or presentation of a motion” under 28 U.S.C.

§ 1867(a), (b), or (c);

                IT IS ORDERED that, pursuant to 28 U.S.C. § 1867(f) and consistent with the

additional limitations set forth in this Protective Order, the parties shall be allowed to inspect,

reproduce, and copy the Jury Records at all reasonable times during the preparation and pendency

of a motion under 28 U.S.C. § 1867(a), (b), or (c);

                IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1867(f), any person who

discloses the Jury Records in violation of 28 U.S.C. § 1867(f) shall be subject to potential penalties

as set forth in that provision;

                IT IS FURTHER ORDERED that each of the individuals to whom disclosure of

the Jury Records is made (including anyone providing legal, investigative, secretarial,

technological, clerical, paralegal, or other support services in connection with this criminal action

and who is employed by, engaged by, advising or otherwise working at the direction of the parties,

as well as any students or interns working for counsel) shall be provided a copy of this Protective

Order by counsel; shall be advised by counsel of the terms and conditions and legal ramifications

of this Protective Order, including that he or she shall not further disseminate or discuss the Jury

Records and must follow the terms of this Protective Order, and that the Court can enforce the

Protective Order against the person to whom the Jury Records are disclosed; and shall confirm to

counsel that he or she will abide by the terms of the Protective Order;

                IT IS FURTHER ORDERED that all Jury Records are to be provided to the

defendants, and used by Defense Counsel, solely for the purpose of allowing the defendants to

prepare a motion under 28 U.S.C. § 1867, and that none of the Jury Records shall be used in any




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manner nor disseminated to any other third party in a manner that is inconsistent with the preceding

paragraphs;

               IT IS FURTHER ORDERED that, at the conclusion of this case, Defense Counsel

shall return to the Jury Administrator all copies of the Jury Records provided in this case, together

with any and all copies thereof, or shall take all reasonably practicable steps to destroy such

records, together with any and all copies thereof, which destruction Defense Counsel shall verify

in writing;

               IT IS FURTHER ORDERED that, the provisions of this Protective Order shall not

be construed as preventing the disclosure of any information in any motion made under 28 U.S.C.

§ 1867, provided that redactions are made pursuant to Fed. R. Crim. P. 49.1 and ECF Rules &

Instructions prior to any public filing.




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AGREED AND CONSENTED TO:


______________________________
 /s/ Joseph Bondy                          __________________
                                            12/18/2020
Joseph Bondy, Esq.                         Date
Stephanie Schuman, Esq.
Attorney for Lev Parnas


 /s/ Todd Blanche
______________________________              12/18/2020
                                           __________________
Todd Blanche, Esq.                         Date
Attorney for Igor Fruman


 /s/ Gerald B. Lefcourt
______________________________              12/18/2020
                                           __________________
Gerald Lefcourt, Esq.                      Date
Faith Friedman, Esq.
Attorneys for Andrey Kukushkin



AUDREY STRAUSS
Acting United States Attorney


By: ____________________________            12/21/2020
                                           __________________
   Nicolas Roos                            Date
   Rebekah Donaleski
   Douglas Zolkind
   Assistant United States Attorneys


SO ORDERED:


________________________________           __________________
HON. J. PAUL OETKEN                        Date
UNITED STATES DISTRICT JUDGE




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